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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



HIGHFIELDS CAPITAL I LP, HIGHFIELDS
CAPITAL II LP, AND HIGHFIELDS
CAPITAL III L.P.,
                      Plaintiffs,                 Civil Action No.: 2:20-cv-02596-MCA-
                                                  LDW
       v.

PERRIGO CO., PLC, JOSEPH PAPA, AND
JUDY BROWN,
                    Defendants.

                          NOTICE OF VOLUNTARY DISMISSAL
                           PURSUANT TO F.R.C.P. 41 (a)(1)(A)(i)

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Highfields Capital I

LP, Highfields Capital II LP, and Highfields Capital III L.P., by and through their undersigned

counsel, hereby give notice that the remaining claims in the above captioned action are
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voluntarily dismissed without prejudice against Defendants Perrigo Co., PLC, Joseph Papa, and

Judy Brown.

       For the sake of clarity, Plaintiffs are voluntarily dismissing without prejudice Counts II,

III, and IV of the Complaint (ECF No. 1). Counts I, V, VI, VII and VIII of the Complaint were

previously dismissed on April 7, 2020 for lack of jurisdiction under the Securities Litigation

Uniform Standards Act (ECF No. 55).


DATED: June 4, 2020

                                                QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP

                                                 By: /s/ Harvey J. Wolkoff
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                                                 Attorneys for Plaintiffs




                      6/16/20




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